Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 1 of 43 PageID 7
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 2 of 43 PageID 8
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 3 of 43 PageID 9
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 4 of 43 PageID 10
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 5 of 43 PageID 11
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 6 of 43 PageID 12
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 7 of 43 PageID 13
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 8 of 43 PageID 14
P          Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 9 of 43 PageID 15
           UNITEDSTATES
           POSTAL SERVICE ®




    '




        PRooﬁ 0F ACCEPTANCE          -

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    g
        (ELECTRONIC)


        PRODUCED DATE:            11/20/2020

    I




        PINELLAS COUNTY CLERK OF THE CIRCUIT COURT:


    :   Th‘e following   is   information   [for   Certified/MaiITM/RRE item number:

           9214 8901 9403 8325 9061 71


    ,
        Our records   indicate that this i‘tem       was accepted byfhe USPS    at:
    V




           ORIGIN ACCEPTANCE CLEARWATER,FL 33756 11/19/2020


    f
        ORIGINAL INTENDED RECIPIENT:
    !
           HENRY OWENS
    I




           COMMUNITY HEALTH CTN
           612 DR MARTlN/LUTHER KING JR ST N
    .
           ST PETERSBURG FL 33705-1403

                                                             r
                                                         f




    I   Return Reference Number: 20-006493-SC




    The above    information represents information provided by the United States Postal Service.
       Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 10 of 43 PageID 16




    Mailer: Pinellas County Clerk of the Circuit Court

    Date Produced: 11/23/2020

    ConnectSuite Inc.:

    The following is the delivery information for Certified Mail™/RRE item number 9214 8901 9403 8325
    9061 71. Our records indicate that this item was delivered on 11/21/2020 at 09:41 a.m. in SAINT
    PETERSBURG, FL 33705. The scanned image of the recipient information is provided below.

    Signature of Recipient :




    Address of Recipient :




    Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
    please contact your local post office or Postal Service representative.

    Sincerely,
    United States Postal Service

    The customer reference number shown below is not validated or endorsed by the United States Postal
    Service. It is solely for customer use.



    This USPS proof of delivery is linked to the customers mail piece information on file
    as shown below:
     HENRY OWENS
     COMMUNITY HEALTH CTN
     612 DR MARTIN LUTHER KING JR ST N
     ST PETERSBURG FL 33705-1403




    Customer Reference Number:            C2381360.13621274
    Return Reference Number:              20-006493-SC

2
           Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 11 of 43 PageID 17
Filing #   117665461 E-Filed 12/04/2020 12:03:58 PM




                                IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                                             IN AND FOR PINELLAS COUNTY, FLORIDA
                                                                CIVIL DIVISION


            MICHAEL A. BURNAM,


                                Plaintiff,

            VS.                                                                   Case No.:           2020-006493-SC South


            HENRY OWENS,


                                Defendant.
                                                                        i


                            NOTICE OF LIMITED APPEARANCE AND DESIGNATIONOF
                   ELECTRONIC MAIL ADDRESSES FOR DEFENDANT, HENRY OWENS, P.A.


                    The   undersigned attorneys, Mark              J.   Ragusa, Esq.        and Jounice L.   Nealy-Brown, Esq.              of


            Gunster, Yoakley & Stewart, P.A., hereby file this Limited Notice of Appearance                              as   counsel for


            Defendant,    HENRY          OWENS, P.A. ("Owens").                      All   pleadings,   records and documentation


            regarding the above-styled cause are hereby requested to                       be furnished to the undersigned counsel


            at the addresses stated.


                    This is     a   special limited     appearance      so as   to allow Owens to be       temporarily represented

            until such time      as   the United States of America,             by   and   through   the United States       Attorney      for


            the Middle District of           Florida,   can   file its appearance          on   behalf of Owens. This is           an   action


            governed by    the Federal Tort Claims Act, 28 U.S.C.                     §§ 1346(b);     2671-2680 (1988)            ("FTCA")
                                                                                                                                         )  J,
                                                                                                                                            J




            and Owens will be represented by             an   Assistant United States Attorney           once   the   case   is   assigned.

                    Pursuant to the Florida             Supreme     Court's Amendment to the Florida Rules of Civil


            Procedure SC10-2101 and Florida Rule of Judicial Administration 2.516(b)(1), Owens                                          hereby

            designates    the    undersigned attorneys' primary                 electronic mail addresses and the                 secondary

            electronic mail addresses for the undersigned                   attorneys' assistants:




            ACTIVE 12747133.2




***ELECTRONICALLYFILED 12/04/2020 12:03:58 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 12 of 43 PageID 18




                                       Primary E-Mails:            mragusa@gunster.com

                                           Secondary E-Mails:


                                             CERTIFICATEOF SERVICE


         I HEREBY CERTIFY that                   a   true and correct copy of the   foregoing   document   was

 furnished by regular U.S. Mail to Michael A.             Bumam, 298.8th Street North, #302, St. Petersburg,
 Florida 33701       on   this 4th   day   of December 2020:


                                                         /s/ MarkJ.   Ragusa
                                                         Mark J.   Ragusa, Esq.
                                                         Florida Bar No.. 829633
                                                         Jounice L.   Nealy-Brown, Esq.
                                                         Florida Bar No.. 0124793
                                                         Gunster, Yoakley & Stewart, P.A.
                                                         401 E. Jackson Street, Suite 2500

                                                         Tampa, FL 33602
                                                         (813) 222-6619; Fax: (813) 228-6739
                                                         Primary E-mail:      mragusa@gunster.com
                                                         Secondary E-mail:
                                                                              eservice@gunster.com
                                                                                               c




                                                         Attorneysfor Defendant,Henry Owens, P.A




 ACTIVE 12747133.2
           Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 13 of 43 PageID 19
Filing #   117665461 E-Filed 12/04/2020 12:03:58 PM




                                 IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                                              IN AND FOR PINELLAS COUNTY, FLORIDA
                                                                   CIVIL DIVISION


            MICHAEL A. BURNAM,


                                 Plaintiff,

            VS.                                                                       Case No.:              2020-006493-SC South


            HENRY OWENS,


                                 Defendant.
                                                                           i


                     DEFENDANT, HENRY OWENS,                             P.A.'S MOTION FOR AN ENLARGEMENT
                    OF TIME OR ALTERNATIVE MOTION FOR TEMPORARYSTAY OF ACTION


                         Defendant,     HENRY           OWENS, P.A. ("Owens"), by and through his undersigned

            attomeysl, hereby request an enlargement of ninety (90) days in which to file his answer or other

            responsive pleading to            the   Complaint      or,   alternatively,     for   a   Stay   of this Action of ninety   (90)

            days    to    give the    United States of       America, by        and   through         the United States   Attorney   for the


            Middle District of Florida, time to file its appearance                   on    behalf of Owens.


                         Owens, in support,         states as   follows:


                         1.      The current action        was     apparently filed on or about September 1,2020. However,

            Owens        was   not served with the Summons and                 Complaint until December 1,2020. The               Summons


            and    Compliant          contained       an   order    directing     a
                                                                                      Zoom-platform            Pre-Trial Conference for


            December          10,2020 at 11:30 am.

                         2.      Owens,    a
                                               physician's assistant, is         an
                                                                                      employee of Community Health              Centers of


            Pinellas, Inc.,      a   Federally Qualified Health Center,               and   as   such,   Owens is deemed     an   employee

            of the federal government for limited purposes, such                      as    liability protection. Accordingly, Owens

            is entitled to the        protections of the        Federal Tort Claims          Act,     28 U.S.C.   §§ 1346(b);   2671-2680


            (1988) ("FTCA"), for negligence                     claims that    allege injuries resulting          from the actions of the

            1
                Owens'   undersigned counsel has appeared through a LimitedNotice of Appearance.
            ACTIVE 12747820.1




***ELECTRONICALLYFILED 12/04/2020 12:03:58 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 14 of 43 PageID 20




 deemed        employees.         The FTCA also           provides      the deemed      employees representation by                the


 United States Attorney's Office. The                   undersigned are precluded from providing any                   substantive


 defense for Owens in                 light   of the   upcoming representation by            the United States         Attorney's

 Office.


           3           Owens has been advised that it will take the United States                             Attorney's Office

 ninety (90) days to process the               action and   assign an attorney to represent Owens.

           4.          Accordingly,           Owens seeks    an    enlargement      of time,     or a    stay, until March 10,

 2021, which is ninety (90) days from the date of the Pre-Trial Conference. The undersigned

 understand that the United States                 Attorney      for the Middle District of Florida is               aware   of this


 lawsuit.       Simultaneously,the U.S. Department of Health and Human Services is in the process of

 reviewing       the   Complaint        in    preparation   of   having      the lawsuit   assigned     to an Assistant      United


 States Attorney.


           5.          Once      accomplished,         the Assistant United States            Attorney       will take      over    as



 counsel for       Owens, and the undersigned counsel will seek entry of                                an   order   allowing      the


 substitution of counsel.


           6.          The   undersigned has           communicated with Plaintiff          concerning the      issues raised in


 this Motion, but Plaintiff failed to             respond to a letter sent previously sent and hung up                 on    counsel


 on    December        3,    2020 when she reached Plaintiff                    by telephone      to    discuss the     requested

 enlargement       of time       or   alternative stay. As of the time of the           filing   of this   Motion,    Plaintiff has


 not    responded      to    a   subsequent       voicemail left        by   counsel.   Thus, Plaintiff is assumed            to be



 unwilling to      agree to the        requested ninety (90) day enlargement.

           7.          This Motion is not intended to             unduly delay this action and is based on the need to

 give   the United States         Attorney's Office time to assign counsel to represent Owens.                        In   addition,

 Plaintiff has not       explained why it          took   seven   (7)   weeks to    serve   Owens with the Summons and



 ACTIVE 12747820.1
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 15 of 43 PageID 21




 Complaint.       In   light   of the current COVID-19       pandemic     and the   resulting delays    in the civil


 litigation system, the requested relief will not in any way prejudice Plaintiff.

            WHEREFORE, Defendant, HENRY OWENS, P.A., respectfully requests that this Court

 enter an order     granting this Motion, granting an enlargement of time for Owens to               file   an answer



 or   otherwise   respond to      the   Complaint up    and until March   10, 2021,   or,   alternatively, providing

 for   a   Stay of this     Action through and   including March 10, 2021,        and for such other relief    as   the


 Court deems just and          appropriate.

                                            CERTIFICATEOF SERVICE


            I HEREBY CERTIFY that                a   true and correct copy of the      foregoing    document     was



 furnished via U.S. Mail to Michael A. Bumam, 298-8th Street                       North, #302, St. Petersburg,

 Florida 33701         on   this 4th   day of December, 2020:


                                                         /s/ MarkJ.   Ragusa
                                                         Mark J.   Ragusa, Esq.
                                                         Florida Bar No.. 829633
                                                         Jounice L.   Nealy-Brown, Esq.
                                                         Florida Bar No.. 0124793
                                                         Gunster, Yoakley & Stewart, P.A.
                                                         401 E. JacksonStreet, Suite 2500
                                                         Tampa, FL 33602
                                                         (813) 222-6619; Fax: (813) 228-6739
                                                         Primary E-mail:           mragusa@gunster.com
                                                         Secondary E-mail:
                                                                                   eservice@gunster.com
                                                                                                    c




                                                         Attorneysfor Defendant, Henry Owens, P.A




 ACTIVE 12747820.1
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 16 of 43 PageID 22




                 DescriptionNOTICE OF CONTINUED PRETRIAL RE 3/10/2021 9:30
    12/10/2020
                 AM
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 17 of 43 PageID 23
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 18 of 43 PageID 24
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 19 of 43 PageID 25
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 20 of 43 PageID 26
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 21 of 43 PageID 27




                     IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                            IN AND FOR PINELLAS COUNTY, FLORIDA
                                        CIVIL DIVISION

 MICHAEL A. BURNAM,
            Plaintiff,
 vs.                                               Case No.:      2020-006493-SC South
 HENRY OWENS,
            Defendant.
                                            /

                 ORDER GRANTING DEFENDANT, HENRY OWENS, P.A.’S
               MOTION FOR AN ENLARGEMENT OF TIME OR ALTERNATIVE
                     MOTION FOR TEMPORARY STAY OF ACTION

        THIS CAUSE having come before the Court at a Pretrial Conference on December 10,
 2020 on Defendant HENRY OWENS, P.A.’S Motion for An Enlargement of Time or Alternative
 Motion for Temporary Stay (“Motion for An Enlargement of Time”). The Court, having noted the
 pro se appearance of Plaintiff and the appearance of Jounice L. Nealy-Brown, Esq. on behalf of
 Defendant, upon consideration of the foregoing, having reviewed the court file, having heard
 argument of the parties and having been fully advised in the premises, it is hereby ORDERED
 AND ADJUDGED that:

         1.      The Motion for An Enlargement of Time is GRANTED.
         2.      Defendant, HENRY OWENS, P.A. shall serve an answer or otherwise respond to
 Plaintiff’s Statement of Claim on or before March 10, 2021.
         3.      The Court has entered a Reset Summons/Notice to Appear Remotely For Pretrial
 Conference resetting the Pre-Trial Conference for March 10, 2021 at 9:30 am.

         DONE AND ORDERED in St. Petersburg, Pinellas County, Florida on
                              , 2020.

                                            ______________________________________
                                            LORRAINE M. KELLY
                                         Electronically
                                            COUNTYConformed   12/14/2020
                                                        COURT JUDGE

  Conformed Copies to:
  Michael A. Burnam                             Mark J. Ragusa, Esq.
  298-8th Street North, #302                    Jounice L. Nealy-Brown, Esq.
  St. Petersburg, Florida 33701                 Gunster, Yoakley & Stewart, P.A.
                                                401 E. Jackson Street, Suite 2500
                                                Tampa, Florida 33602
                                                mragusa@gunster.com
                                                jnealy-brown@gunster.com
                                                tkennedy@gunster.com
                                                eservice@gunster.com
                                                Counsel for Henry Owens, P.A.

 ACTIVE:12781476.1
           Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 22 of 43 PageID 28
Filing #   118362766 E-Filed 12/17/2020 09:58:41 AM




                            IN THE COUNTY COIJRT OF THE SIXTH JUDICIAL CIRCUIT
                                        IN AND FOR PINELLAS COUNTY, FLORIDA
                                                             CIVIL DIVISION
             MICHAEL A.             BURNAM,

                                                            Plaintiff,

                                        V.                               Case No. 2020-006493-SCSouth


             HENRY          OWENS,

                                                          Defendant.




                                                NOTICE UNDER 42 U.S.C.              § 233(1)(1)

                       The United States of America provides the               following notice, pursuant to   42 U.S.C.   §

            233(1)(1):

                       1.        The U.S.     Department of Health and         Human Services (HHS) notified this office


            on   December 15,2020 of this state court action against Mr.                 Henry Owens,     an   employee of

            Community Health Center, which is                an   entity described in 42   U.S.C.   § 233(g)(4)(apublic or

            non-profit private entity receiving federal funds under section254b of Title 42).

                       2.        Pursuant to 42 U.S.C.       § 233(1)(1), the United States is appearing    forthe limited


            purpose of       notifying       the Court   as to   whether the   Secretary of   HHS will deem Mr.     Henry

            Owens to be           an   "employee of      the Public Health Service" with respect to the actions         or



            omissions that are the subject of this civil action.


                       3.        At present, HHS has not yet provided its report           as to   whether Mr. Owens   was


                 "
            an       employee of the Public Health         Service" for purposes of the acts or omissions that are the


            subject of this civil action.         See 42 U.S.C.    §§ 233(g) and (h).

                       4.         Once HHS has      completed its review and provided its report, the United States

            Attorney,       as   the U.S.    Attorney General's delegate, will determine whether the alleged           acts




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Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 23 of 43 PageID 29




 fall within the scope of 42 U.S.C.      § 233(a), the applicable provisions of the FSHCAA, and

 were   otherwise within the scope of Mr. Owen's         employment.    See 42 U.S.C.    § 233(c);

 28 C.F.R.   § 15.4(b);   60 Fed.   Reg. 22530,22531. The United States Attorney has     not been


 provided with   sufficient information to make that determination at this time.




                                                      Respectfully submitted,

                                                      MARIA CHAPA LOPEZ
                                                      United States Attorney


                                                       /s/ Erin Choi
                                                      ERIN CHOI
                                                      Assistant United States Attorney
                                                      USA No. 196
                                                      400 North Tampa Street, Suite 3200

                                                      Tampa, Florida 33602
                                                      Telephone: 813-274-6000
                                                      Facsimile: 813-274-6198
                                                      Email:   Erin.Choi@usdoj.gov




                                                  2
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 24 of 43 PageID 30




                                    CERTIFICATE OF SERVICE


          I   certify that on December 17,2020 a true and     correct copy of the   foregoing was filed

 with the Court      using Florida Court's e-filing portal, which will send   an    electronic notice of


 FHMB.

          I further   certify that on   December 17,2020   a true   and correct copy of the   foregoing

 document and notice of electronic filing       was   mailed first-class mail, postage   prepaid   to the


 following:

 Michael A. Bumam
 298 8th St. N
 Unit 302
 St.   Petersburg,   FL 33701-311


 Jounice L. Nealy-Brown, Esq.
 Mark J. R-agusa, Esq.
 Attorneys for Defendant
 Gunster, Yoakley & Stewart, P.A.
 401 E. Jackson Street
 Suite 2500
 Tampa, FL       33602



                                                          / s / Erin Choi
                                                          ERIN CHOI
                                                          Assistant United States Attorney




                                                   3
         Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 25 of 43 PageID 31
Filing # 122685696  E-Filed 03/08/2021 02:47:36 PM


                            IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                                   IN AND FOR PINELLAS COUNTY, FLORIDA
                                               CIVIL DIVISION

        MICHAEL A. BURNAM,

                            Plaintiff,

        vs.                                                          Case No.:        2020-006493-SC South

        HENRY OWENS,

                            Defendant.
                                                             /

            DEFENDANT, HENRY OWENS, P.A.’S SECOND MOTION FOR AN ENLARGEMENT
              OF TIME OR ALTERNATIVE MOTION FOR TEMPORARY STAY OF ACTION

                   Defendant, HENRY OWENS, P.A. (“Owens”), by and through his undersigned attorneys1,

        hereby request an enlargement of thirty (30) days in which to file his answer or other responsive

        pleading to the Complaint or, alternatively, for a Stay of this Action of thirty (30) days to give the

        United States of America, by and through the United States Attorney for the Middle District of

        Florida, time to file its appearance on behalf of Owens.

                   Owens, in support, states as follows:

                   1.       The current action was apparently filed on or about September 1, 2020. However,

        Owens was not served with the Summons and Complaint until December 1, 2020. The Summons

        and Complaint contained an order directing a Zoom-platform Pre-Trial Conference for

        December 10, 2020 at 11:30 am.

                   2.       On December 4, 2020, the undersigned filed a Motion for an Enlargement Of Time

        Or Alternative Motion For Temporary Stay Of Action, a true and correct copy of which is attached

        hereto as Exhibit “A.”




        1
            Owens’ undersigned counsel has appeared through a Limited Notice of Appearance.
        ACTIVE:13057711.1
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 26 of 43 PageID 32




         3.          On December 11, 2020, the Court entered the Reset Summons/Notice to Appear

 Remotely for Pretrial Conference setting the pretrial for March 10, 2021 at 9:30 a.m., a true and

 correct copy of which is attached as Exhibit “B.”

         4.          On December 17, 2021, the United States of America filed its Notice under

 42 U.S.C. Section 233(1)(1) stating that it was waiting for the United States Department of Health

 and Human Services (“HHS”) to determine whether Mr. Owens is deemed an employee of the

 federal government for limited purposes, such as liability protection. A true and correct copy of

 the Notice is attached as Exhibit “C.”

         5.          On March 8, 2021, the undersigned contacted Assistant United States Attorney Erin

 Choi to determine if HHS had determined Mr. Owens’ status and was advised that they had

 recently received the records from HHS and would need additional time to obtain a certification

 from the Acting United States Attorney to substitute the United States for Mr. Owens and prepare

 the necessary motions and notices. See email from Assistant United States Attorney Choi attached

 as Exhibit “D.”

         6.          Accordingly, Owens seeks an enlargement of time, or a stay, until April 9, 2021,

 which is thirty (30) days from the current date of the Pre-Trial Conference. The United States

 Attorney for the Middle District of Florida is aware of this lawsuit. Unfortunately, the process of

 getting the United States Attorney’s Office involved in matters such as this are time consuming.

 According to Assistant United States Attorney Choi, an additional thirty (30) days are needed to

 have Mr. Owens’ representation in this lawsuit approved for assignment to an Assistant United

 States Attorney.

         7.          Once accomplished, the Assistant United States Attorney will take over as counsel

 for Owens, and the undersigned counsel will seek entry of an order allowing the substitution of

 counsel.

 ACTIVE:13057711.1
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 27 of 43 PageID 33




         8.          Mr. Owens’ counsel attempted to communicate with Plaintiff concerning the issues

 raised in this Motion. However, when telephonically contacted by the assistant for the undersigned

 on March 8, 2021, the Plaintiff indicated that he opposed the requested relief. Thus, Plaintiff is

 unwilling to agree to the requested thirty (30) day enlargement.

         9.          This Motion is not intended to unduly delay this action and is based on the need to

 give the United States Attorney’s Office time to assign counsel to represent Owens. In light of the

 current COVID-19 pandemic and the resulting delays in the civil litigation system, the requested

 relief will not in any way prejudice Plaintiff.

         WHEREFORE, Defendant, HENRY OWENS, P.A., respectfully requests that this Court

 enter an order granting this Motion, granting an enlargement of time for Owens to file an answer

 or otherwise respond to the Complaint up and until April 9, 2021, or, alternatively, providing for

 a Stay of this Action through and including April 9, 2021, and for the continuance of the Pre-Trial

 Conference in this matter, and for such other relief as the Court deems just and appropriate.

                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing document was
 furnished via U.S. Mail to Michael A. Burnam, 298-8th Street North, #302, St. Petersburg, Florida
 33701 on this 8th day of March, 2021:


                                                   /s/ Mark J. Ragusa
                                                   Mark J. Ragusa, Esq.
                                                   Florida Bar No.: 829633
                                                   Jounice L. Nealy-Brown, Esq.
                                                   Florida Bar No.: 0124793
                                                   Gunster, Yoakley & Stewart, P.A.
                                                   401 E. Jackson Street, Suite 2500
                                                   Tampa, FL 33602
                                                   (813) 222-6619; Fax: (813) 228-6739
                                                   Primary E-mail:        mragusa@gunster.com
                                                   Secondary E-mail:      tkennedy@gunster.com
                                                                          eservice@gunster.com

                                                   Attorneys for Defendant, Henry Owens, P.A.

 ACTIVE:13057711.1
         Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 28 of 43 PageID 34
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                    IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                           IN AND FOR PINELLAS COUNTY, FLORIDA
                                       CIVIL DIVISION

        MICHAEL A. BURNAM,

                    Plaintiff,

        vs.                                       Case No.:   2020-006493-SC South

        HENRY OWENS,

                    Defendant.
                                            /


                                        EXHIBIT “A’ TO

          DEFENDANT, HENRY OWENS, P.A.’S SECOND MOTION FOR AN ENLARGEMENT
            OF TIME OR ALTERNATIVE MOTION FOR TEMPORARY STAY OF ACTION
         Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 29 of 43 PageID 35
Filing # 117665461  E-Filed 12/04/2020 12:03:58 PM


                            IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                                   IN AND FOR PINELLAS COUNTY, FLORIDA
                                               CIVIL DIVISION

        MICHAEL A. BURNAM,

                            Plaintiff,

        vs.                                                          Case No.:        2020-006493-SC South

        HENRY OWENS,

                            Defendant.
                                                             /

                  DEFENDANT, HENRY OWENS, P.A.’S MOTION FOR AN ENLARGEMENT
                 OF TIME OR ALTERNATIVE MOTION FOR TEMPORARY STAY OF ACTION

                   Defendant, HENRY OWENS, P.A. (“Owens”), by and through his undersigned

        attorneys1, hereby request an enlargement of ninety (90) days in which to file his answer or other

        responsive pleading to the Complaint or, alternatively, for a Stay of this Action of ninety (90)

        days to give the United States of America, by and through the United States Attorney for the

        Middle District of Florida, time to file its appearance on behalf of Owens.

                   Owens, in support, states as follows:

                   1.       The current action was apparently filed on or about September 1, 2020. However,

        Owens was not served with the Summons and Complaint until December 1, 2020. The Summons

        and Compliant contained an order directing a Zoom-platform Pre-Trial Conference for

        December 10, 2020 at 11:30 am.

                   2.       Owens, a physician’s assistant, is an employee of Community Health Centers of

        Pinellas, Inc., a Federally Qualified Health Center, and as such, Owens is deemed an employee

        of the federal government for limited purposes, such as liability protection. Accordingly, Owens

        is entitled to the protections of the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b); 2671-2680

        (1988) (“FTCA”), for negligence claims that allege injuries resulting from the actions of the
        1
            Owens’ undersigned counsel has appeared through a Limited Notice of Appearance.
        ACTIVE 12747820.1

                                                                                              Exhibit "A"
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 30 of 43 PageID 36




 deemed employees. The FTCA also provides the deemed employees representation by the

 United States Attorney’s Office. The undersigned are precluded from providing any substantive

 defense for Owens in light of the upcoming representation by the United States Attorney’s

 Office.

           3.        Owens has been advised that it will take the United States Attorney’s Office

 ninety (90) days to process the action and assign an attorney to represent Owens.

           4.        Accordingly, Owens seeks an enlargement of time, or a stay, until March 10,

 2021, which is ninety (90) days from the date of the Pre-Trial Conference. The undersigned

 understand that the United States Attorney for the Middle District of Florida is aware of this

 lawsuit. Simultaneously, the U.S. Department of Health and Human Services is in the process of

 reviewing the Complaint in preparation of having the lawsuit assigned to an Assistant United

 States Attorney.

           5.        Once accomplished, the Assistant United States Attorney will take over as

 counsel for Owens, and the undersigned counsel will seek entry of an order allowing the

 substitution of counsel.

           6.        The undersigned has communicated with Plaintiff concerning the issues raised in

 this Motion, but Plaintiff failed to respond to a letter sent previously sent and hung up on counsel

 on December 3, 2020 when she reached Plaintiff by telephone to discuss the requested

 enlargement of time or alternative stay. As of the time of the filing of this Motion, Plaintiff has

 not responded to a subsequent voicemail left by counsel. Thus, Plaintiff is assumed to be

 unwilling to agree to the requested ninety (90) day enlargement.

           7.        This Motion is not intended to unduly delay this action and is based on the need to

 give the United States Attorney’s Office time to assign counsel to represent Owens. In addition,

 Plaintiff has not explained why it took seven (7) weeks to serve Owens with the Summons and


 ACTIVE 12747820.1
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 31 of 43 PageID 37




 Complaint. In light of the current COVID-19 pandemic and the resulting delays in the civil

 litigation system, the requested relief will not in any way prejudice Plaintiff.

         WHEREFORE, Defendant, HENRY OWENS, P.A., respectfully requests that this Court

 enter an order granting this Motion, granting an enlargement of time for Owens to file an answer

 or otherwise respond to the Complaint up and until March 10, 2021, or, alternatively, providing

 for a Stay of this Action through and including March 10, 2021, and for such other relief as the

 Court deems just and appropriate.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing document was

 furnished via U.S. Mail to Michael A. Burnam, 298-8th Street North, #302, St. Petersburg,

 Florida 33701 on this 4th day of December, 2020:


                                                /s/ Mark J. Ragusa
                                                Mark J. Ragusa, Esq.
                                                Florida Bar No.: 829633
                                                Jounice L. Nealy-Brown, Esq.
                                                Florida Bar No.: 0124793
                                                Gunster, Yoakley & Stewart, P.A.
                                                401 E. Jackson Street, Suite 2500
                                                Tampa, FL 33602
                                                (813) 222-6619; Fax: (813) 228-6739
                                                Primary E-mail:        mragusa@gunster.com
                                                Secondary E-mail:      tkennedy@gunster.com
                                                                       eservice@gunster.com

                                                Attorneys for Defendant, Henry Owens, P.A.




 ACTIVE 12747820.1
         Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 32 of 43 PageID 38
Filing # 122685696  E-Filed 03/08/2021 02:47:36 PM


                    IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                           IN AND FOR PINELLAS COUNTY, FLORIDA
                                       CIVIL DIVISION

        MICHAEL A. BURNAM,

                    Plaintiff,

        vs.                                       Case No.:   2020-006493-SC South

        HENRY OWENS,

                    Defendant.
                                            /


                                        EXHIBIT “B’ TO

          DEFENDANT, HENRY OWENS, P.A.’S SECOND MOTION FOR AN ENLARGEMENT
            OF TIME OR ALTERNATIVE MOTION FOR TEMPORARY STAY OF ACTION
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 33 of 43 PageID 39



                              County Court, Pinellas County, Florida
                                     Small Claims Division
                               (727) 464-7000 - www.rny_pine!!asderk.orq

                                        REF: 20-006493-SC          South

                                MICHAEL A BURNAM Vs. HENRY OWENS

 TO:    DEFENDANT/DEFENDANT ATTORNEY
        MARK J RAGUSA ESQ
        GUNSTER YOAKLEY & STEWART P A
        401 E JACKSON ST STE 2500
        TAMPA FL 33602

         RESET SUMMONS/NOTICE TO APPEAR REMOTELY FOR PRETRIAL CONFERENCE

 THE STATE OF FLORIDA
                        NOTICE TO PLAINTIFF(S) AND DEFENDANT(S)
        YOU ARE HEREBY NOTIFIED that you are required to appear in person or by attorney via the
Zoom platform on Wednesday, March 10, 2021 at 9:30 AM for a PRE-TRIAL CONFERENCE before a
judge of the court.

  To attend this meeting by video go to:               If you are unable to appear by video, call:
         https://www.zoom.us/join                                    1 786 635 1003
                                                                     1 470 250 9358
                                Meeting ID: 983 2733 7969 Password: 285379

Instructions for Zoom hearings:
•      The Court has multiple hearings scheduled at this time. Join the Zoom meeting promptly at the
      designated time and wait to be admitted into the hearing.
•      If you are using the video conferencing, be sure your profile name is your first and last name. If
       this is not your default, you will have the option to change it after you join the meeting.
•      Although the hearing is conducted virtually, proper decorum should be maintained. Appropriate
       attire is required of all participants. Participants should be in a quiet setting and minimize any
       external distractions.
•     Mute your microphone when you are not required to speak.

                               IMPORTANT- READ CAREFULLY
                         THIS CASE WILL NOT BE TRIED AT THAT TIME.
                DO NOT BRING WITNESSES - APPEAR IN PERSON OR BY ATTORNEY

        The defendant(s) must appear in court on the date specified in order to avoid a default judgment.
The Plaintiff(s) must appear to avoid having the case dismissed for lack of prosecution. A written
MOTION or ANSWER to the court by the plaintiff(s) or defendant(s) shall not excuse the personal
appearance of a party or its attorney in the pre-trial conference. The date and time of the PRE-TRIAL
CONFERENCE CANNOT be rescheduled without good cause and prior court approval.

Any business entity recognized under Florida law may be represented at any stage of the trial court
proceedings by any principal of the business entity who has legal authority to bind the business entity or
any employee authorized in writing by a principal of the business entity. A principal is defined as being an
officer, member, managing member, or partner of the business entity. Written authorization must be
brought to the Pre-Trial Conference.

        Upon service of this summons/notice, if you are unrepresented, please complete a Designation of
E-Mail Address for Party Not Represented by an Attorney form and file it with the Clerk of Court. This
form may be found on www.n:v1:;in,:,!!asci,�d�.mq/For:m; and may be filed electronically via the Florida
Courts E-Filing Portal at \•V'Nw.mvfico,.fft:::cc�,ss.com or by mail or hand-delivery to an office of the Clerk of
Court.
                                                                               Exhibit "B"
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 34 of 43 PageID 40



 The purpose of the pre-trial conference is to record your appearance, to determine the nature of the case,
 and to set the case for trial if the case cannot be resolved at the pre-trial conference.

         You may be ordered to mediate at the pre-trial conference. Mediation means "A process
whereby a neutral third person called a Mediator acts to encourage and facilitate the resolution of a
dispute between two or more parties. It is an informal process with the objective of helping the disputing
parties reach a mutually acceptable and voluntary agreement." You or your attorney must have full
authority to settle without further consultation at pre-trial mediation.

          You or your attorney should be prepared to confer with the court and to explain briefly the nature
 of your dispute, state what efforts have been made to settle the dispute, exhibit any documents necessary
 to prove the case, state names and addresses of your witnesses, stipulate to the facts that will require no
 proof and will expedite the trial, and estimate how long it will take to try the case.

        If you admit the claim, but desire additional time to pay, you must come and state the
circumstances to the court. The court may or may not approve a payment plan and withhold judgment,
execution, or levy.

        RIGHT TO VENUE. The law gives the person or company who has sued you the right to file
in any one of several places as listed below. However, if you have been sued in any place other
than one of these places, you, as the defendant(s), have the right to request that the case be
moved to a proper location or venue. A proper location or venue may be one of the following: (1)
where the contract was entered into; (2) if the suit is on an unsecured promissory note, where the
note is signed or where the maker resides; (3) if the suit is to recover property or to foreclose a
lien, where the property is located; (4) where the event giving rise to the suit occurred; (5) where
any one or more of the defendants sued reside; (6) any location agreed to in a contract; (7) in an
action for money due, if there is no agreement as to where suit may be filed, where payment is to
be made.

        If you, as the defendant(s), believe the plaintiff(s) has/have not sued in one of these correct
places, you must appear on your court date and orally request a transfer, or you must file a WRITTEN
request for transfer in affidavit form (sworn to under oath) with the court seven days prior to your first
court date and send a copy to the plaintiff(s) or plaintiff's (s') attorney, if any.

         A copy of the statement of claim shall be served with the original, alias and pluries summons.

         Dated on December 11, 2020, in Clearwater, Florida




If you are a person with a disability who needs any accommodation in order
to participate in this proceeding, you are entitled, at no cost to you, to the
provision of certain assistance. Please contact the Human Rights Office, 400
S. Ft. Harrison Ave., Ste. 300, Clearwater, FL 33756, (727) 464-4062 (V/TDD),
at least 7 days before your scheduled court appearance, or immediately upon
receiving this notification if the time before the scheduled appearance is less
than 7 days; if you are hearing or voice impaired, call 711.
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Filing # 122685696  E-Filed 03/08/2021 02:47:36 PM


                    IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                           IN AND FOR PINELLAS COUNTY, FLORIDA
                                       CIVIL DIVISION

        MICHAEL A. BURNAM,

                    Plaintiff,

        vs.                                       Case No.:   2020-006493-SC South

        HENRY OWENS,

                    Defendant.
                                            /


                                       EXHIBIT “C” TO

          DEFENDANT, HENRY OWENS, P.A.’S SECOND MOTION FOR AN ENLARGEMENT
            OF TIME OR ALTERNATIVE MOTION FOR TEMPORARY STAY OF ACTION
         Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 36 of 43 PageID 42
Filing # 118362766  E-Filed 12/17/2020 09:58:41 AM


              IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                      IN AND FOR PINELLAS COUNTY, FLORIDA
                                  CIVIL DIVISION
         MICHAEL A. BURNAM,

                                              Plaintiff,

                             v.                            Case No. 2020-006493-SC South

         HENRY OWENS,

                                            Defendant.



                                   NOTICE UNDER 42 U.S.C. § 233(l)(1)

               The United States of America provides the following notice, pursuant to 42 U.S.C. §

        233(l)(1):

               1.      The U.S. Department of Health and Human Services (HHS) notified this office

        on December 15, 2020 of this state court action against Mr. Henry Owens, an employee of

        Community Health Center, which is an entity described in 42 U.S.C. § 233(g)(4) (a public or

        non-profit private entity receiving federal funds under section 254b of Title 42).

               2.      Pursuant to 42 U.S.C. § 233(l)(1), the United States is appearing for the limited

        purpose of notifying the Court as to whether the Secretary of HHS will deem Mr. Henry

        Owens to be an “employee of the Public Health Service” with respect to the actions or

        omissions that are the subject of this civil action.

               3.      At present, HHS has not yet provided its report as to whether Mr. Owens was

        an “employee of the Public Health Service” for purposes of the acts or omissions that are the

        subject of this civil action. See 42 U.S.C. §§ 233(g) and (h).

               4.      Once HHS has completed its review and provided its report, the United States

        Attorney, as the U.S. Attorney General’s delegate, will determine whether the alleged acts


                                                                               Exhibit "C"
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 fall within the scope of 42 U.S.C. § 233(a), the applicable provisions of the FSHCAA, and

 were otherwise within the scope of Mr. Owen’s employment. See 42 U.S.C. § 233(c);

 28 C.F.R. § 15.4(b); 60 Fed. Reg. 22530, 22531. The United States Attorney has not been

 provided with sufficient information to make that determination at this time.


                                                   Respectfully submitted,

                                                   MARIA CHAPA LOPEZ
                                                   United States Attorney

                                                   /s/ Erin Choi
                                                   ERIN CHOI
                                                   Assistant United States Attorney
                                                   USA No. 196
                                                   400 North Tampa Street, Suite 3200
                                                   Tampa, Florida 33602
                                                   Telephone: 813-274-6000
                                                   Facsimile: 813-274-6198
                                                   Email: Erin.Choi@usdoj.gov




                                              2
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                                  CERTIFICATE OF SERVICE

           I certify that on December 17, 2020 a true and correct copy of the foregoing was filed

 with the Court using Florida Court’s e-filing portal, which will send an electronic notice of

 filing.

           I further certify that on December 17, 2020 a true and correct copy of the foregoing

 document and notice of electronic filing was mailed first-class mail, postage prepaid to the

 following:

 Michael A. Burnam
 298 8th St. N
 Unit 302
 St. Petersburg, FL 33701-311

 Jounice L. Nealy-Brown, Esq.
 Mark J. Ragusa, Esq.
 Attorneys for Defendant
 Gunster, Yoakley & Stewart, P.A.
 401 E. Jackson Street
 Suite 2500
 Tampa, FL 33602


                                                      /s/ Erin Choi
                                                      ERIN CHOI
                                                      Assistant United States Attorney




                                                 3
         Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 39 of 43 PageID 45
Filing # 122685696  E-Filed 03/08/2021 02:47:36 PM


                    IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                           IN AND FOR PINELLAS COUNTY, FLORIDA
                                       CIVIL DIVISION

        MICHAEL A. BURNAM,

                    Plaintiff,

        vs.                                       Case No.:   2020-006493-SC South

        HENRY OWENS,

                    Defendant.
                                            /


                                       EXHIBIT “D” TO

          DEFENDANT, HENRY OWENS, P.A.’S SECOND MOTION FOR AN ENLARGEMENT
            OF TIME OR ALTERNATIVE MOTION FOR TEMPORARY STAY OF ACTION
      Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 40 of 43 PageID 46


Kennedy, Tracy

From:              Choi, Erin (USAFLM) <Erin.Choi@usdoj.gov>
Sent:              Monday, March 8, 2021 11:50 AM
To:                Kennedy, Tracy
Cc:                Dillon, William; Ragusa, Mark; Nealy-Brown, Jounice
Subject:           RE: Michael A. Burnam v. Henry Owens | Notice under 42 USC 233



Good morning,

I received the records from HHS just recently. Would it be possible to ask for a short extension of time
(of about 1 month) at the pretrial conference? Now that I have the info from HHS, I need to obtain a
certification from the Acting US Attorney to substitute the US for Mr. Owens and prepare the
necessary motions and notices.

Erin Choi
Assistant United States Attorney
United States Attorney’s Office
Middle District of Florida
400 North Tampa Street, Suite 3200
Tampa, FL 33602
Telephone: 813-274-6000
Facsimile: 813-274-6198

From: Kennedy, Tracy <TKennedy@gunster.com>
Sent: Monday, March 8, 2021 11:17 AM
To: Choi, Erin (USAFLM) <EChoi@usa.doj.gov>
Cc: Dillon, William <WDillon@gunster.com>; Ragusa, Mark <MRagusa@gunster.com>; Nealy‐Brown, Jounice <JNealy‐
Brown@gunster.com>
Subject: FW: Michael A. Burnam v. USA | Notice under 42 USC 233


Good morning Ms. Choi:

       I am Jounice Nealy-Brown’s assistant. Please let me know if you have received any information from
HHS regarding the above matter. There is a Pretrial Conference scheduled for March 10, 2021. Thank you. I
look forward to hearing from you.




Tracy Kennedy
Legal Administrative Assistant to
Mark J. Ragusa, Kenneth G.M. Mather,
   Eduardo Suarez-Solar and Jounice L. Nealy-Brown,
401 E. Jackson Street, Suite 2500
                                                                         Exhibit "D"
                                                       1
      Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 41 of 43 PageID 47
Tampa, FL 33602
P 813-222-6674 F 813-228-6739
gunster.com




                                            2
       Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 42 of 43 PageID 48


                   FLORIDA’S   LAW FIRM FOR BUS‘NESS
                                                                                      Writer’s Direct Dial Number: (813) 222-6619
                                                                                   Writer’s E-Mail Address: mragusa@gunster.com




                                                            March   15,   2021




        Via   JAWSUgload
        The Honorable Edwin Jagger
        Sixth Judicial Circuit
        545   First   Avenue North, Rm. 508
        St.   Petersburg,      FL 33701

                  Re:        Michael A.      Bumam V. Henry Owens
                             Case Number:                2020-006493-SC

        Dear Judge Jagger:

                  This Firm represents Defendant, Henry Owens, in the above matter. If you Will recall,                we
        are waiting for the United States Attorney’sOfﬁce to appear in this action for Mr. Owens. The
        parties (and AUSA Choi) were before Your Honor 0n March 10, 2021 at a pretrial conference.
        Also heard at that pretrial conference was Defendant’s Second Motion for An Enlargement 0f
        Time 0r Alternative Motion for Temporary Stay, which was granted.

                  Accordingly, enclosed for your consideration             is a proposed Order Granting Defendant,

        Henry Owens, P.A.’S Second Motion For                 An    Enlargement Of Time Or Alternative Motion For
        Temporary Stay Of Action.

                  If the   Order meets With your approval, please execute the same and request your Judicial
        Assistant forward a copy Via     JAWS and we will serve 0n the pro se Plaintiff.

                                                               Respectfully submitted,


                                                               Mark J. Ragusa

                                                               Mark J. Ragusa
                                                               Signed Electronically

        MJNtak
        Enclosures
        cc:       Michael A. Burnam (Via U.S. Mail)
                  Erin Choi, Esq. (Via email)
                  w/enclosure



        ACTIVE: 1 30762691




***ELECTRONICALLY FILED          3/1   5/2021 11:43:53   AM KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
Case 8:21-cv-00772-CEH-SPF Document 1-2 Filed 03/31/21 Page 43 of 43 PageID 49




           IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                       IN AND FOR PINELLAS COUNTY, FLORIDA
                                   CIVIL DIVISION
 MICHAEL A. BURNAM,
            Plaintiff,
 vs.                                         Case No.: 2020-006493-SC South
 HENRY OWENS,
            Defendant.
                                       /

        ORDER GRANTING SECOND MOTION FOR AN ENLARGEMENT OF TIME
           OR ALTERNATIVE MOTION FOR TEMPORARY STAY OF ACTION
                AND ORDER RESETTING PRETRIAL CONFERENCE

         THIS CAUSE having come on to be heard on March 10, 2021 at the Pretrial Conference
 of this matter, and the Court having noted the Pro Se appearance of the Plaintiff, MICHAEL A.
 BURNAM, along with counsel for Defendant HENRY OWENS, Mark J. Ragusa, Esq. of Gunster,
 Yoakley & Stewart, P.A. and Assistant United States Attorney Erin Choi, Esq. and the Court
 having heard argument from the Parties and being otherwise fully advised in the premises, hereby

         ORDERS AND DECREES as follows:

          1.     Defendant, HENRY OWENS’ Second Motion for An Enlargement of Time or
 Alternative Motion for Temporary Stay of Action (Filing # 122685696 E-Filed 03/08/2021
 02:47:36 PM) is hereby GRANTED;
          2.     The Court is assigning this action to the Judge’s Division for the direct scheduling
 of all future activities in this matter; and
          3.     The Pretrial Conference in this matter is rescheduled for April 13, 2021 starting at
 2:00 p.m. via telephone. The telephone call in number is (727) 582-7788.

         DONE AND ORDERED in St. Petersburg, Pinellas County, Florida on
                              , 2021.
                                                 Electronically Conformed 3/15/2021
                                               EDWIN JAGGER, COUNTY COURT JUDGE

 Conformed Copies to:
  Plaintiff:                                        Counsel for Henry Owens, P.A.
  Michael A. Burnam                                 Mark J. Ragusa, Esq.
  298-8th Street North, #302                        Jounice L. Nealy-Brown, Esq.
  St. Petersburg, Florida 33701                     Gunster, Yoakley & Stewart, P.A.
                                                    401 E. Jackson Street, Suite 2500
  Assistant United States Attorney                  Tampa, Florida 33602
  Erin Choi, Esq.                                   mragusa@gunster.com
  USA No. 196                                       jnealy-brown@gunster.com
  400 North Tampa Street, Suite 3200                tkennedy@gunster.com
  Tampa, Florida 33602                              eservice@gunster.com
  Erin.Choi@usdoj.gov

 ACTIVE:13065775.1
